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                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

IN RE:                                 §            Case No. 22-60043
                                       §
FREE SPEECH SYSTEMS, LLC,              §            Chapter 11 (Subchapter V)
                                       §
      Debtor.                          §

             UNOPPOSED EMERGENCY MOTION FOR
     CONTINUANCE OF HEARING ON THE SANDY HOOK FAMILIES’
       MOTION TO (I) APPOINT TORT CLAIMANTS COMMITTEE
          AND (II) REMOVE THE DEBTOR IN POSSESSION
              [Related to ECF Nos. 102, 103, and 104]

      This motion seeks an order that may adversely affect you. If you
      oppose the motion, you should immediately contact the moving
      party to resolve the dispute. If you and the moving party cannot
      agree, you must file a response and send a copy to the moving
      party. You must file and serve your response within 21 days of
      the date this was served on you. Your response must state why
      the motion should not be granted. If you do not file a timely
      response, the relief may be granted without further notice to you.
      If you oppose the motion and have not reached an agreement,
      you must attend the hearing. Unless the parties agree otherwise,
      the court may consider evidence at the hearing and may decide
      the motion at the hearing.

      Represented parties should act through their attorney.

      Emergency relief has been requested. If the Court considers the
      motion on an emergency basis, then you will have less than 21
      days to answer. If you object to the requested relief or if you
      believe that the emergency consideration is not warranted, you
      should file an immediate response.

      Relief is requested on or before October 12, 2022 at 10:00 a.m.

      Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel

Fontaine (the “Texas Plaintiffs”) and David Wheeler, Francine Wheeler, Jacqueline

Barden, Mark Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee

Soto Parisi, Carlos M. Soto, Jillian Soto-Marino, William Aldenberg, William Sherlach,




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and Robert Parker (the “Connecticut Plaintiffs”) (together with the Texas Plaintiffs, the

“Sandy Hook Families”), 1 hereby file this unopposed emergency motion (“Motion for

Continuance”) for a continuance of the hearing on The Sandy Hook Families’ Motion to

(I) Appoint Tort Claimants Committee and (II) Remove the Debtor in Possession

[Dkt. 102] (the “Tort Committee Motion”), and respectfully state as follows:

                                     I.      INTRODUCTION

        1.     The Tort Committee Motion is currently set for hearing on October 12,

2022, at 10:00 a.m. (Prevailing Central Time).

        2.     The Emergency Application of the Debtor for an Order (A) Authorizing

Employment of Patrick Magill as Chief Restructuring Officer and (B) Granting Related

Relief [Dkt. 205] (the “Magill CRO Application”) is also set for hearing on October 12,

2022.

        3.     On October 6, 2022, Subchapter V Trustee, Melissa Haselden filed a

proposed Stipulation and Agreed Order [Dkt. 211], which lays out the details for the

parties’ mediation.

        4.     Given the upcoming mediation and the pending Magill CRO Application,

the Sandy Hook Families request, on a consensual basis, that the Court continue the

hearing on the Tort Committee Motion until November 16, 2022, or, alternatively, a date

that is amenable to the Court, to preserve estate resources and for the reasons set forth

herein.




1Marcel Fontaine was not defamed as to the Sandy Hook mass-shooting but as to the Parkland mass-
shooting. For ease of reference, however, this document refers to all tort claimants as the Sandy Hook
Families.




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                           II.     JURISDICTION AND VENUE

      5.      The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This matter

is a core proceeding pursuant to 28 U.S.C. § 157(b).

      6.      Venue for this Motion for Continuance is proper in this Court pursuant to

28 U.S.C. § 1409.

           III.   SANDY HOOK FAMILIES’ REQUEST FOR EMERGENCY RELIEF

      7.      The Sandy Hook Families seek entry of an order continuing the Tort

Committee Motion for approximately thirty-five (35) days to give ample time to engage

in mediation and to allow the Court to decide the Magill CRO Application. Because the

current hearing on the Tort Committee Motion falls within the normal briefing period for

this Motion for Continuance, and because the Motion for Continuance is unopposed,

emergency consideration is appropriate.

                                 IV.   RELIEF REQUESTED

      8.      The Sandy Hook Families request that the Court continue the hearing on

the Tort Committee Motion currently set for October 12, 2022.             The requested

continuance would give the parties an opportunity to reach a resolution that might vitiate

the need for the Court to hear the Tort Committee Motion. Similarly, the Court’s decision

with respect to the Magill CRO Application—also set for the October 12, 2022 hearing—

may address concerns raised in the Tort Committee Motion.

      9.      The Debtor and the Sandy Hook Families have conferred, and the Motion

for Continuance is unopposed. Counsel for the Debtor and the Sandy Hook Families have




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agreed on continuing the hearing setting until November 16, 2022, or, alternatively, a date

that is amenable to the Court.

                                   V.     CONCLUSION

       For the foregoing reasons, the Sandy Hook Families respectfully request this Court

enter an order continuing the hearing on the Tort Committee Motion until November 16,

2022, or, alternatively, a date that is amenable to the Court, and grant the Sandy Hook

Families such other and further relief to which they may be justly entitled.

       Respectfully submitted this 10th day of October 2022.


                                          MCDOWELL HETHERINGTON LLP

                                          Avi Moshenberg
                                          Texas Bar No. 24083532
                                          1001 Fannin Street, Suite 2700
                                          Houston, Texas 77002
                                          D: 713-337-5580
                                          F: 713-337-8850
                                          E: Avi.Moshenberg@mhllp.com

                                          Counsel for the Texas Plaintiffs

                                          and

                                          CHAMBERLAIN, HRDLICKA, WHITE,
                                             WILLIAMS & AUGHTRY, PC

                                          By: /s/Jarrod B. Martin
                                          Jarrod B. Martin
                                          Texas Bar No. 24070221
                                          1200 Smith Street, Suite 1400
                                          Houston, Texas 77002
                                          D: 713.356.1280
                                          F: 713.658.2553
                                          E: jarrod.martin@chamberlainlaw.com

                                          Bankruptcy Counsel for the Texas
                                          Plaintiffs




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                                         By: /s/ Ryan Chapple
                                         Ryan E. Chapple
                                         State Bar No. 24036354
                                         Email: rchapple@cstrial.com
                                         CAIN & SKARNULIS PLLC
                                         303 Colorado Street, Suite 2850
                                         Austin, Texas 78701
                                         512-477-5000
                                         512-477-5011—Facsimile

                                         and

                                         Randy W. Williams
                                         State Bar No. 21566850
                                         Email: rww@bymanlaw.com
                                         BYMAN & ASSOCIATES PLLC
                                         7924 Broadway, Suite 104
                                         Pearland, Texas 77581
                                         281-884-9262

                                         Bankruptcy Counsel for Connecticut
                                         Plaintiffs

                           CERTIFICATE OF ACCURACY

      I hereby certify that the foregoing statements are true and accurate to the best of
my knowledge and belief. This statement is being made pursuant to Bankruptcy Local
Rule 9013-1(i).

                                               /s/ Ryan E. Chapple
                                         Ryan E. Chapple

                            CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Emergency Motion for
Continuance has been served on counsel for Debtor, Debtor, and all parties receiving or
entitled to notice through CM/ECF on this 10th day of October 2022.


                                               /s/ Ryan E. Chapple
                                         Ryan E. Chapple




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